  Case 2:19-cr-00525-KM Document 30 Filed 02/10/20 Page 1 of 13 PageID: 243




                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA
                                                     Crim. No. 19-525 (1CM)
V.
                                                      OPINION & ORDER
WILLIAM GREEN,

                 Defendant.



KEVIN MCNULTY, U.S.D.J.:
         Before the Court is an admirably focused motion to dismiss the
indictment by defendant William Green. (DE 22, 23) Mr. Green is alleged to
have operated an unregistered business wherein he assisted customers with
exchanging ordinary currency into a virtual currency, Bitcoin. He is accused of
operating an “unlicensed money transmitting business” in violation of 18
U.S.C.   § 1960. But Sitcom, he says, is not “money.”
         Mr. Green moves to dismiss the indictment under Fed. R. Crim. P.
12(b)(3)(B)(v) for failure to state an offense. Mr. Green asserts that 18 U.S.C.   §
1960 does not define “money” or “funds” so as to encompass Bitcoin—or at
least does not do so with sufficient clarity. (DE 23-1) Citing United States v.
Davis, 139 S. Ct 2319 (2019), Mr. Green argues that the statute is vague in
relation to a business dealing in Bitcoin, and that there is no legal basis to
charge him with operating an unlicensed money transmitting business. (Id.)
         The government opposes Mr. Green’s motion, stating that the plain
language of 18 U.S.C.    § 1960 and its legislative history confirm that it applies
broadly to include virtual currencies, including Sitcom. (DE 25) The citation to
Davis, says the government, does not help Mr. Green, as it does not decide any
issue relevant to this case, but simply applies well-established principles of
statutory construction. (Id.)




                                        1
    Case 2:19-cr-00525-KM Document 30 Filed 02/10/20 Page 2 of 13 PageID: 244




         For the reasons outlined below, I will deny Mr. Green’s motion to dismiss
the Indictment. (DE 22, 23)

    I.      The Indictment’
         William Green, a New Jersey resident, is alleged to have operated a
business using a website called “Destination Bitcoin.” (DE 13              ¶   la) The

government alleges that, from August 2017 to February 2019, Mr. Green’s
business converted customers’ fiat money into Bitcoin.2 (Id.) Mr. Green
accomplished this by depositing his customers’ funds into his personal bank
account, converting this money into Bitcoin, and then transferring the Bitcoin
back to his customers. (Id.) In exchange for facilitating this conversion, Mr.
Green charged a fee. (Id.)
         The Indictment recites that federal law requires anyone who owns or
controls a “money transferring business” to register that business with the
Secretary of the Treasury. (Id.      ¶   lb (citing 31 U.S.C.   §   5330(a)(1))) Mr. Green,

says the government, failed to register his business with the Secretary of the
Treasury. (Id.     ¶   lc) Accordingly, Mr. Green is charged with operating an
unlicensed money transmitting business in violation of 18 U.S.C.                 §   1960.




        Citations to the record will be abbreviated as follows. Citations to page numbers
refer to the page numbers assigned through the Electronic Court Filing system, unless
otherwise indicated:
              =   Docket entry number in this case.
2      Bitcoin “is a decentralized form of online currency that is maintained in an
online ‘wallet.’ Bitcoins can be purchased from online exchangers or brokers, who
often charge a fee for making such an exchange. Bitcoins can then be exchanged for
other goods or services online and transferred to another person’s wallet. That person
can then either use such bitcoins to purchase other goods and services or convert
them back to U.S. dollars or some other traditional form of currency.” United States v.
Lord, No. CR 15-00240-01/02, 2017 WL 1424806, at *1 (W.D. La. Apr. 20, 2017),
affd, 915 F.3d 1009 (5th Cir. 2019).


                                             2
  Case 2:19-cr-00525-KM Document 30 Filed 02/10/20 Page 3 of 13 PageID: 245




   II.     Discussion
           a. Legal standard
         Under Federal Rule of Criminal Procedure 7(c)(1), an indictment “must be
a plain, concise, and definite written statement of the essential facts
constituting the offense charged.” “An indictment returned by a legally
constituted and unbiased grand jury,      ...   if valid on its face, is enough to call for
trial of the charge on the merits.” United States v. Huet, 665 F.3d 588, 594 (3d
Cir. 2012) (emphasis omitted) (quotation omitted).
         A sufficient indictment “(1) contains the elements of the offense intended
to be charged, (2) sufficiently apprises the defendant of what he must be
prepared to meet, and (3) allows the defendant to show with accuracy to what
extent he may plead a former acquittal or conviction in the event of a
subsequent prosecution.” United States v. Stock, 728 F.3d 287, 292 (3d Cir.
2013) (internal citations and quotations omitted). For purposes of a motion to
dismiss, the Court must accept as true all factual allegations in the indictment.
United States v. Besmajian, 910 F.2d 1153, 1154 (3d Cir. 1990).
      Federal Rule of Criminal Procedure 12(b)(3) allows a defendant to move
to dismiss an indictment for failure to state an offense. Fed. R. Crim. P.
12(b)(3)(B)(v). One way a defendant can proceed with such a challenge is by
claiming “that an indictment fails to state an offense on the basis that ‘the
specific facts alleged  fall beyond the scope of the relevant criminal statute,
                        ...




as a matter of statutory interpretation.”’ United States v. Willis, 844 F.3d 155,
162—63 (3d Cir. 2016).

            b. 18 U.S.C.      § 1960
         Enacted in 1992 and amended most recently in 2006, Section 1960
provides as follows:


       Mr. Green grouses that the government’s opposition (DE 25) impermissibly
contains factual allegations that extend beyond the “four corners of the indictment”
and refers to extrinsic evidence. (See DE 26 at 2 (citing U.S. v. Huet, 665 F.3d 588, 593
(3d Cir. 2012)). To be clear, for purposes of this motion to dismiss, I confine my
analysis to those facts asserted in the indictment (DE 13).


                                         3
 Case 2:19-cr-00525-KM Document 30 Filed 02/10/20 Page 4 of 13 PageID: 246




     (a) Whoever knowingly conducts, controls, manages, supervises,
     directs, or owns all or part of an unlicensed money transmitting
     business, shall be fined in accordance with this title or imprisoned
     not more than 5 years, or both.
     (b) As used in this section--
               (1) the term “unlicensed money transmitting business”
               means a money transmitting business which affects
               interstate or foreign commerce in any manner or degree and-

                     (A) is operated without an appropriate money
                     transmitting license in a State where such operation is
                     punishable as a misdemeanor or a felony under State
                     law, whether or not the defendant knew that the
                     operation was required to be licensed or that the
                     operation was so punishable;
                     (B) fails to comply with the money transmitting
                     business registration requirements under section 5330
                     of title 31, United States Code, or regulations
                     prescribed under such section; or
                  (C) otherwise involves the transportation or
                  transmission of funds that are known to the defendant
                  to have been derived from a criminal offense or are
                  intended to be used to promote or support unlawful
                  activity;
          (2) the term “money transmitting” includes transferring
          funds on behalf of the public by any and all means including
          but not limited to transfers within this country or to
          locations abroad by wire, check, draft, facsimile, or courier;
          and
           (3) the term “State” means any State of the United States, the
           District of Columbia, the Northern Mariana Islands, and any
           commonwealth, territory, or possession of the United States.
     Thus the statute sets forth three separate methods by which the
Government may prove that a defendant operates an “unlicensed money
transmitting business”:
         (1)      failing to obtain a state license where such a license is
                  necessary; or

         (2)      failing to comply with separate federal registration
                  requirements; or



                                        4
  Case 2:19-cr-00525-KM Document 30 Filed 02/10/20 Page 5 of 13 PageID: 247




         (3)     transmitting funds in support of or as a result of criminal
                 activity.

This case involves the second, proscribed by 18 U.S.C.     § 1960(b)(1)(B).
               31 U.S.C.   § 5330
      Section 5330 of Title 31, the requirements of which are incorporated by
reference in is u.s.c. § 1960(b)(1)(B), defines “money transferring business”
and the applicable registration requirements:
      (a) Registration with Secretary of the Treasury required.

               (1) Any person who owns or controls a money transmitting
               business shall register the business (whether or not the
               business is licensed as a money transmitting business in
               any State) with the Secretary of the Treasury not later than
               the end of the 180-day period beginning on the later of—
                      (A) the date of enactment of the Money Laundering
                     Suppression Act of 1994; or
                      (B) the date on which the business is established.


      (d) Definitions. For purposes of this section, the following definitions
      shall apply:
             (1) Money transmitting business.--The term “money
             transmitting business” means any business other than the
             United States Postal Service which--
                    (A) provides check cashing, currency exchange, or
                    money transmitting or remittance services, or issues
                    or redeems money orders, travelers’ checks, and other
                    similar instruments or any other person who engages
                    as a business in the transmission of funds, including
                    any person who engages as a business in an informal
                    money transfer system or any network of people who
                    engage as a business in facilitating the transfer of
                    money domestically or internationally outside of the
                    conventional financial institutions system;
                    (B) is required to file reports under section 5313; and
                     (C) is not a depository institution (as defined in section
                     5313(g)).
                (2) Money transmitting sen’ice.--The term “money
                transmitting service” includes accepting currency or funds


                                         5
  Case 2:19-cr-00525-KM Document 30 Filed 02/10/20 Page 6 of 13 PageID: 248




              denominated in the currency of any country and
              transmitting the currency or funds, or the value of the
              currency or funds, by any means through a financial agency
              or institution, a Federal reserve bank or other facility of the
              Board of Governors of the Federal Reserve System, or an
              electronic funds transfer network.
31 U.S.C.   § 5330.
         d. Analysis
     The Indictment charges a violation of Section 1960(b)(1)(B)—failure to
comply with separate federal registration requirements as articulated under
Section 5330 of Title 31. (See DE 13         ¶ 2) First, Mr. Green asserts that the
Indictment must be dismissed for statutory vagueness under United States v.
Davis, supra. According to Mr. Green, 18.U.S.C. § 1960 and 31 U.S.C. § 5330
do not define “money” or “funds” in a manner so as to clearly cover virtual
currencies such as Bitcoin. (DE 23-1 at 7—12) Second, Mr. Green asserts that
the rule of enity also applies and requires dismissal of the indictment (Id. at
13—14)
      For the reasons stated below, Mr. Green’s motion to dismiss is denied.

                      1.   u.s.   v. Davis
       Mr. Green asserts that the Supreme Court’s decision in Davis changed
the statutory-interpretation landscape. Under the Davis approach, he says, the
Court must set aside prior contrary lower-court case law and hold that Section
1960 is impermissibly vague. 139 5. Ct 2319 (2019). I disagree. Money changes
everything; Davis did not.
     The subject matter of Davis has nothing to do with 18 U.S.C. § 1960, the
money transmitting business, or the definition of “money” or “funds.” In Davis,
the Supreme Court considered whether the residual clause of 18 U.S.C.             §
924(c), a firearms statute, was unconstitutionally vague. Section 924(c)
prescribes “heightened criminal penalties for using or carrying a firearm
‘during and in relation to,’ or possessing a firearm ‘in furtherance of,’ any
federal ‘crime of violence or drug trafficking crime.’ § 924(c)(1)(A).” Id. at 2324.
Section 924(c)(3) defines “crime of violence” as an offense that amounts to a


                                             6
  Case 2:19-cr-00525-KM Document 30 Filed 02/10/20 Page 7 of 13 PageID: 249




felony and, either, “(A) has as an element the use, attempted use, or threatened
use of physical force against the person or properw of another, or (B) that by
its nature, involves a substantial risk that physical force against the person or
property of another may be used in the course of committing the offense.”
Prong (B) is the so-called “residual clause” discussed in Davis.
      Ultimately, the Court determined that the residual clause was
impermissibly ambiguous. The Court compared             924(c)’s residual clause to
the residual clauses found in two statutes—the Armed Career Criminal Act and
18 U.S.C.   § 16—that it had recently found unconstitutional, and found it to be
indistinguishable from them. Davis, 139 5. Ct at 2325—26. All three clauses
required judges
      to use a form of what we’ve called the categorical approach to
      determine whether an offense qualified as a violent felony.
      Following the categorical approach, judges had to disregard how
      the defendant actually committed his crime. Instead, they were
      required to imagine the idealized ordinary case of the defendant’s
      crime and then guess whether a serious potential risk of physical
      injury to another would attend its commission.




Id. at 2326 (internal   quotation   marks and   citations   omitted). To relegate the
risk of violence to case-by-case estimation, the Court held, was
unconstitutional as it resulted in arbitrary and unpredictable judgments. (Id.)
      In so holding, Davis does not announce a new Constitutional principle
for interpreting criminal statutes. Rather, Davis applies longstanding Supreme
Court doctrine that only Congress has the authority to criminalize acts, and
then only through clear statutory pronouncements:
      Our doctrine prohibiting the enforcement of vague laws rests on
      the twin constitutional pillars of due process and separation of
      powers. See Dimaya, 584 U.S., at              , 138 S.Ct., at 1212—
                                                    —




       1213 (plurality opinion); id., at        —, 138 S.Ct., at 1224—


       1228 (GORSUCH, J., concurring in part and concurring in
      judgment). Vague laws contravene the “first essential of due
      process of law” that statutes must give people “of common
      intelligence” fair notice of what the law demands of them. Connally
      v. General Constr. Co., 269 U.S. 385, 391, 46 S.Ct. 126, 70 L.Ed.
      322 (1926); see Collins v. Kentucky, 234 U.S. 634, 638, 34 S.Ct.


                                         /
  Case 2:19-cr-00525-KM Document 30 Filed 02/10/20 Page 8 of 13 PageID: 250




      924, 58 L.Ed. 1510 (1914). Vague laws also undermine the
      Constitution’s separation of powers and the democratic self-
      governance it aims to protect. Only the people’s elected
      representatives in the legislature are authorized to “make an act a
      crime.” United States v. Hudson, 7 Cranch 32, 34, 11 U.s. 32, 3
      L.Ed. 259 (1812). Vague statutes threaten to hand responsibility
      for defining crimes to relatively unaccountable police, prosecutors,
      and judges, eroding the people’s ability to oversee the creation of
      the laws they are expected to abide. See Kolender v. Lawson, 461
      U.s. 352, 357—358, and n. 7, 103 S.Ct. 1855, 75 L.Ed.2d 903
      (1983); United States v. L. Cohen Grocenj Co., 255 U.S. 81, 89—9 1,
      41 S.Ct. 298, 65 L.Ed. 516 (1921); United States v. Reese, 92 U.s.
      214, 221, 23 L.Ed. 563 (1876).

Davis, 139 5. Ct. at 2325. Notably, Davis, does not alter the method or content
of a courts’ analysis of statutonr vagueness. Thus, “fw]hen called upon to
interpret a statute, courts must always begin with the statute’s plain
language.” Hewett v. WillingboroBd. of Educ., 421 F. Supp. 2d 814, 817 (D.N.J.
2006) (internal citations and quotations omitted). “As usual, our job is to
interpret the words consistent with their ‘ordinary meaning         ...   at the time
Congress enacted the statute.” United States v. Johnman, No. 18-2048, 2020
WL 425399, at *3 (3d Cir. Jan. 28, 2020) (citing 14/is. Cent. Ltd. v. United States,
—   U.S.     ,   138 5. Ct. 2067, 2070, 201 L.Ed.2d 490 (2018)). “lIJn addition to
considering the statutory language itself, we may also engage in a studied
examination of the statutory context. If we ultimately determine that a
provision is clear and unambiguous,       jwel   must simply apply it. However, if we
find that a provision is ambiguous, we then turn to pre-Code practice and
legislative history to find meaning.” In re Denby-Peterson, 941 F.3d 115, 124
(3d Cir. 2019) (internal citations and quotations omitted).
      I do not mean to imply that the general approach of Davis does not
apply; of course it does. What I reject is the apparent implication that Davis
wrought some sort of fundamental change in the interpretation of criminal
statutes. So, applying well-worn principles as announced in Davis and many
prior cases, I turn to 31 U.S.C.   §   5330 and 18 U.S.C.    §   1960 to determine




                                          8
      Case 2:19-cr-00525-KM Document 30 Filed 02/10/20 Page 9 of 13 PageID: 251




whether the ordinary and plain language of these statutes prohibits the
conduct alleged in the Indictment with sufficient clarity.

                           2. Section 5330’s definition of “money”
          As noted above, 18 U.S.C.       §   1960 criminalizes the operation of a money
transmitting business that is not registered as required. It incorporates the
requirements of 31 U.S.C.         §   5330 as to who must register as a money
transmitting business. Section 5330 of Title 31 applies to a business
exchanging ordinary fiat currency for Bitcoin.
           Section 5330 permits the Treasury Department to regulate “money
transmitting business[esj.” Money is defined by reference to the word
“funds”:
          The term “money transmitting business” means any business other
          than the United States Postal Service which--
          (A) provides check cashing, currency exchange, or money
          transmitting or remittance services, or issues or redeems money
          orders, travelers’ checks, and other similar instruments or any
          other person who engages as a business in the transmission of
          funds...

Id.   §   5330(d)(1) (emphasis added). As discussed in more detail below, the
dictionary meaning of “funds” very broadly covers “available pecuniary
resources” or “money,” broadly defined as “something generally accepted as a
medium of exchange, a measure of value, or a means of payment.” See United
States v. Murgio, 209 F. Supp. 3d 698, 707 (S.D.N.Y. 2016) (citing Webster’s
Third New International Dictionary 921 (2002)).
           Setting aside the language of 18 U.S.C.       §   1960, see infra, Section 5330
contains its own guidance: “jMoney transmitting or remittance services” is
broadly defined under        §   5330 to encompass any business that engages in “the
acceptance of currency, funds, or other value that substituted for currency
from one person and the transmission of currency, funds, or other value
that substituted for currency to another location or person by any means.”
31 U.S.C.      §   5330 (emphasis added). If Section 5330 were intended to apply




                                                9
  Case 2:19-cr-00525-KM Document 30 Filed 02/10/20 Page 10 of 13 PageID: 252




solely to fiat money, or currency, there would have been no need to list “funds,
or other value that substituted for currency.”
         I consider also the nature of the transactions covered by Section 5330.
By its plain meaning, Section 5330 applies to transactions where, as here,
“currency” has been accepted and then exchanged or transmitted in the form of
a value that is “substituted for currency.” Currency is defined as “[t]he coin and
paper money of the United States or of any other country that is designated as
legal tender and that circulates and is customarily used and accepted as a
medium of exchange in the country of issuance.” 31 C.F.R.           §   1010.100(m).
Bitcoin fits comfortably within the designation of a “value that substituted for
currency” in the exchanges allegedly conducted by Mr. Green’s business.
         The conduct alleged in the indictment falls within Section 5330’s
registration requirements. Mr. Green is alleged to have accepted currency
from his clients that he was able to deposit into his bank accounts. (DE
13   ¶   l.a) He then is alleged to have exchanged this money for a
commensurate amount of Bitcoin—i.e. a form of “value that substituted
for currency.” (See DE 13) Accordingly, I find that Bitcoin qualifies as
funds that are the subject of regulation of money transmitting
businesses under Section 5330.

                           3. Section 1960’s definition of “money”
         I turn, then, to the heart of the matter: 18 U.S.C.   §   1960, the
criminal statute under which Mr. Green is charged. Section 1960 has its
own definitional section:
         [Tjhe term “money transmitting” includes transferring funds on
         behalf of the public by any and all means including but not limited
         to transfers within this country or to locations abroad by wire,
         check, draft, facsimile, or courier; and
18 U.S.C.     §   1960(bfl2). Section 1960 does not define “money” other than to
state that it includes “funds” that have been broadly transmitted by “any and
all means.”




                                          10
    Case 2:19-cr-00525-KM Document 30 Filed 02/10/20 Page 11 of 13 PageID: 253




       As noted above, the ordinary meaning of “funds,” according to an
authoritative dictionary in print when Congress passed the statute, is
“available pecuniary resources.” See United States v. Murgio, 209 F. Supp. 3d at
707 (citing Webster’s Third New International Dictionary 921 (2002)).
“Pecuniary” was likewise defined as “taking the form of or consisting of money,”
and “money” was defined as “something generally accepted as a medium of
exchange, a measure of value, or a means of payment.” Id.
       Federal courts have consistently adopted these broad definitions when
construing the terms “funds” and “money” under Section 1960. The following
cases have, in particular, held that Bitcoin constitutes “money” or “funds”
under 18 U.S.C.    §   1960: United States v. Stetkiw, No. 18-20579, 2019 WL
417404, at *2 (E.D. Mich. Feb. 1, 2019); United States v. Murgio, 209 F. Supp.
3d 698, 707 (S.D.N.Y. 2016); United States v. Faiefla, 39 F. Supp. 3d 544, 545
(S.D.N.Y. 2014) (for these purposes, noting that “Merriam—Webster Online
defines ‘funds’ as ‘available money’ or ‘an amount of something that is available
for use: a supply of something.”’); United States v. Mansy, No. 2:15-CR-198-
GZS, 2017 WL 9672554, at *1 (D. Me. May 11,2017). Other forms of virtual
currency, too, have been held to constitute “funds” under Section 1960. See
United States v. E-Gold, Ltd., 550 F. Supp. 2d 82, 88 (D.D.C. 2008); United
                                                               *9 (S.D.N.Y.
States v. Budovsky, No. 13CR368 DLC, 2015 WL 5602853, at
Sept. 23, 2015).
       The reasoning of Faiella is emblematic of those cases holding that Bitcoin
falls within the scope of 18 U.S.C.   §   1960: “Bitcoin can be easily purchased in




4      Similar results have been reached under other statutes. See United States v.
Vlbricht, 31 F. Supp. 3d 540, 570 (S.D.N.Y. 2014) (holding that Bitcoin fell thin the
scope of 18 U.S.C. § 1956, the money laundering statute, reasoning that “Bitcoins
carry value—that is their purpose and function—and act as a medium of exchange.
Bitcoins may be exchanged for legal tender, be it U.S. dollars, Euros, or some other
currency.”); Sec. & Etch. Commn v. Shavers, No. 4:13-CV-4l6, 2013 WL 4028182, at
*1 (ED. Tex. Aug. 6, 2013) (reasoning, for purposes of the securities laws, “that
Sitcom can be used as money. It can be used to purchase goods or services.... [I]t can
also be exchanged for conventional currencies


                                          11
  Case 2:19-cr-00525-KM Document 30 Filed 02/10/20 Page 12 of 13 PageID: 254




exchange for ordinary currency, acts as a denominator of value, and is used to
conduct financial transactions.” 39 F. Supp. 3d at 545.
      These cases employed the usual tools of statutory interpretation. For the
reasons expressed above, nothing in Davis impliedly overrules those cases or
detracts from the force of their reasoning.5 I therefore follow them, and hold
that the language of Section 1960 encompasses Bitcoin with sufficient clarity.

                        4. Rule of Lenity
      The rule of lenity provides that “when ambiguity in a criminal
statute cannot be clarified by either its legislative history or inferences
drawn from the overall statuton- scheme, the ambiguity is resolved in
favor of the defendant.” United States v. Pollen, 978 F.2d 78, 85 (3d Cir.
1992). “To invoke the rule, we must conclude that there is a grievous
ambiguity or uncertainty in the statute.” Muscarello v. United States, 524
U.S. 125, 138—39 (1998) (internal quotation marks and citation omitted).
      There is no “grievous” ambiguity here. For the reasons stated
above, Section 1960 and Section 5330 do not leave courts or defendants
to guess at what is meant. Rather, the application of accepted canons of
statutory construction reveals that the plain language of Section 1960




       I find no ambiguity here. If I did, however, resort to the legislative history of
Section 1960 would support a broad application of the statute to encompass evolving
forms of “funds”:
      Section 1960 was passed as an anti-money laundering statute, designed “to
      prevent the movement of funds in connection with drug dealing.” United States
      v. Bah, 574 F.3d 106, 112 (2d Cir. 2009) (citing HR. Rep. No. 107—250(I), at 54
      (2001)). Congress was concerned that drug dealers would turn increasingly to
      “nonbank financial institutions” to “convert street currency into monetary
      instruments” in order to transmit the proceeds of their drug sales. S. Rep. 101—
      460, 1990 WL 201710 (1990). Section 1960 was drafted to address this “gaping
      hole in the money laundering deterrence effort.” Id. Indeed, it is likely that
      Congress designed the statute to keep pace with such evolving threats, which is
      precisely why it drafted the statute to apply to any business involved in
      transferring “funds    by any and all means.” 18 U.S.C. § 1960(b)(2).
                           ...




Faiella, 39 F. Supp. 3d at 545—46.


                                          12
 Case 2:19-cr-00525-KM Document 30 Filed 02/10/20 Page 13 of 13 PageID: 255




and Section 5330 applies to the transmission of “funds,” a term that
covers pecuniary resources including Bitcoin.


                                 ORDER
      For the reasons set forth above,
      IT IS this 10th day of February, 2020,
      ORDERED that the defendant’s motion to dismiss the Indictment (DE
22, 23) is DENIED.




                                     KecNty
                                                      M
                                     United States District Jud




                                         13
